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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0282V
                                    Filed: February 28, 2017
                                         UNPUBLISHED
*********************************
GRETCHEN KOKOTOVICH,                              *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On February 29, 2016, Gretchen Kokotovich (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleged that she suffered a shoulder
injury that was caused in fact by her April 3, 2015 Tetanus-diphtheria-acellular pertussis
vaccination. On October 21, 2016, the undersigned issued a decision awarding
compensation to petitioner based on respondent’s proffer. (ECF No. 22).

      On February 7, 2017, petitioner filed a motion for attorneys’ fees and costs.
(ECF No. 28). Petitioner requests attorneys’ fees in the amount of $14,267.50, and

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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attorneys’ costs in the amount of $574.79, for a total amount of $14,842.29. Id. at 2. In
accordance with General Order #9, petitioner’s counsel represents that petitioner
incurred no out-of-pocket expenses.

        On February 28, 2017, respondent filed a response to the motion for attorneys’
fees and costs stating that respondent does not object to the overall amount sought, as
it is not an unreasonable amount to have been incurred for the proceedings to date.
Respondent states that her lack of objection should not be construed as an admission,
concession or waiver as to the hourly rates requested, the number of hours billed, or the
other litigation related costs.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $14,842.293 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Muller Brazil, LLP.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                    2
